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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

JAVIER GOMEZ, ALFREDO HUERTA, §
DANIEL BOBADILLA,                       §
URIEL RODRIGUEZ, DANIEL MERINO, §
                                        §
individually and on behalf of other     §
similarly situated employees and former §
employees of Defendants,                §
      Plaintiff(s),                     §
                                        §
vs.                                     §CIVIL ACTION NO: 3:14-CV-2934-P
                                          §JURY
                                    §
                                    §
MI COCINA LTD, all individually and §
d/b/a MI COCINA, TACO FANATICO,     §
and M CROWD RESTAURANT GROUP, §
M CROWD GP, LLC, and                §
M CROWD RESTAURANT GROUP,           §
INC., d/b/a MI COCINA, TACO DINER, §
and THE MERCURY                     §
      Defendants.                   §
  _______________________________________________________________

 MOTION FOR LEAVE TO FILE OBJECTIONS TO MAGISTRATE JUDGE’S
 ORDER DENYING PLAINTIFFS’ EMERGENCY MOTION TO WITHDRAW
  OR AMEND DEEMED ADMISSIONS TO DEFENDANTS’ REQUEST FOR
 ADMISSIONS AND EXTENSION OF TIME TO RESPOND TO DISCOVERY

_______________________________________________________________________
TO THE HONORABLE UNITED STATES JUDGE:

      Pursuant to Rule 15 of the Federal Rules of Civil Procedure, Plaintiffs,
Javier Gomez (“Gomez”), Alfredo Huerta (“Huerta”), Daniel Bobadilla
(“Bobadilla”), Uriel Rodriguez (“Rodriguez”), and Daniel Merino (“Merino”), all
individually and on behalf of other similarly situated employees and former
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employees of Defendants (hereinafter “Plaintiffs”), file this Motion for Leave to
file this Objection to Magistrate Judge’s Order, and would show the following:

       On May 18, 2016, Magistrate Judge Irma Ramirez entered an order denying
Plaintiffs’ Emergency Motion to Withdraw and/or Amend Deemed Admissions to
Defendants’ Request for Admissions and Extension of Time to Respond to
Discovery. Dkt. 455. The response was due by midnight on June 1, 2016.
Plaintiffs have been diligently working on this objection through the morning
hours after June 1, 2016. Plaintiffs’ deadline to file a Motion for Summary
Judgment was May 31, 2016, for which Plaintiffs timely filed their partial motion
seeking summary judgment on minimum wage and tip credit violations. Plaintiffs
also had a deposition on the same date of the current objection motion, and have
also been inundated with work on other cases. Plaintiffs’ counsel are a small two
person firm that have been bombarded with discovery and motions for this case,
while always still trying to adhere to commitments on their other cases.

       Plaintiffs file this motion for leave to allow Plaintiffs the opportunity to file
their response a couple of hours past the Court’s June 1, 2016 deadline. Plaintiffs’
counsel were not able to file a response before midnight. Plaintiffs assert that no
prejudice has occurred by the delay, and sincerely apologize to the Court.

      Plaintiffs pray that the Court grant Plaintiffs’ motion for leave to file past the
deadline ordered. This motion is not sought for delay, but so that justice may be
done.

                       CERTIFICATE OF CONFERENCE

        On June 1, 2016, Plaintiffs’ counsel asked for a one week extension of time
to file their objections to which they were opposed.




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                                       Respectfully submitted,

                                       AI LEGAL GROUP, PLLC
                                       /S/ RHODA APPIAH-BOATENG

                                       _________________________________
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                                       ATTORNEYS FOR PLAINTIFFS


                         CERTIFICATE OF SERVICE

      I hereby certify that service of the foregoing document will be accomplished
through the notice of electronic filing in accordance with the Federal Rules of Civil
Procedure on this 2nd day of June 2016, to the following:

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                                       /S/ RHODA APPIAH-BOATENG
                                       _________________________________
                                       RHODA APPIAH-BOATENG




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